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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL BUSINESS AVIATION ASSOCIATION, INC.,
  1200 G Street N.W., Suite 1100
  Washington, DC 20005

SANTA MONICA AIRPORT ASSOCIATION, INC.,
  3021 Airport Avenue, Suite 210
  Santa Monica, California 90405

WONDERFUL CITRUS LLC,
  1901 S. Lexington Street
  Delano, CA 93215

BILL’S AIR CENTER, INC.,
   3147 Donald Douglas Loop South
   Santa Monica, CA 90405

KIM DAVIDSON AVIATION, INC., AND                                  Case No. 18-1719
   2701 Airport Avenue
   Santa Monica, California 90405

REDGATE PARTNERS, LLC,
  2429 S. Peck Road
  Whittier, CA 9060

               Plaintiffs,

v.

DANIEL K. ELWELL, ACTING ADMINISTRATOR, AND
FEDERAL AVIATION ADMINISTRATION
  800 Independence Ave., S.W.
  Washington, DC 20591

               Defendants.

     NOTICE OF DIMISSAL ON BEHALF OF PLAINTIFF WONDERFUL CITRUS LLC

        Pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff Wonderful Citrus LLC files this

notice of the dismissal without prejudice of its claims against the Defendants in this proceeding.

This notice does not affect the claims of the other Plaintiffs.



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                              ZUCKERT, SCOUTT & RASENBERGER, LLP

                              /s/ Jolyon A. Silversmith

Dated: September 18, 2018     JOLYON (“JOL”) A. SILVERSMITH, Esq.
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